              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,               )
                                        )
                       Plaintiff,       )
                                        )
        vs.                             )     No. 12-03066-08-CR-S-RTD
                                        )
JAMIE JENNIFER LYNAM,                   )
                                        )
                       Defendant.       )

                       REPORT AND RECOMMENDATION
                       CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Rule 11, F.R.Cr.P., 22(k)(26), WDMO, and 28 U.S.C. '636, and has

entered a plea of guilty to Counts One, Three, and Seventeen and

admitted to Forfeiture Allegations One and Four of the Third

Superseding Indictment filed on June 12, 2013.        After cautioning and

examining the Defendant under oath concerning each of the subjects

mentioned in Rule 11, I determined that the guilty pleas were

knowledgeable and voluntary, and that the offenses charged are

supported by a factual basis for each of the essential elements of

the offenses.     I therefore recommend that the pleas of guilty be

accepted and that the Defendant be adjudged guilty and have sentence

imposed accordingly.



Date:     December 12, 2013               /s/ James C. England
                                        JAMES C. ENGLAND
                                        UNITED STATES MAGISTRATE JUDGE



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                                 NOTICE

     Failure to file written objections to this Report and
Recommendation within 14 days from the date of its service shall bar
an aggrieved party from attacking such Report and Recommendation
before the assigned United States District Judge. 28 U.S.C.
'636(b)(1)(B).




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